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                 IN THE UNITED STATES DISTRICT COURT FOR THE.                          FILED
                                                                                 IM OPEN COURT

                           EASTERN DISTRICT OF VIRGINIA

                                                                                 undV]^"siEAL
                                    Alexandria Division                     CLERK, U.S DISTRICT COURT /
                                                                              ALEXANDRIA, VIRGINIA




UNITED STATES OF AMERICA                         Case No. I:18-cr-454


       V.                                        Count One: 18 U.S.C. §§ 2241(a) and 7(9)
                                                 (Aggravated Sexual Abuse by Force
ISAAC N. GIBBONS,                                in the Special Maritime and
                                                 Territorial Jurisdiction of the United States)
       Defendant.
                                                 Count Two: 18 U.S.C. §§ 2242(1) and 7(9)
                                                 (Sexual Abuse in the Special Maritime
                                                 and Territorial Jurisdiction of the
                                                 United States)

                                                 Count Three: 18 U.S.C. §§ 2242(b)
                                                 and 7(9)(Abusive Sexual Contact
                                                 in the Special Maritime and Territorial
                                                 Jurisdiction of the United States)


                                      INDICTMENT


                             December 2018 Term - Alexandria




                                    General Allegations




THE GRAND JURY CHARGES THAT:


       1.     On or about December 23, 2017, the defendant, ISAAC N. GIBBONS, was

employed by the United States Government and assigned to the United States Embassy in the

city of Phnom Penh in the country of the Kingdom of Cambodia("Cambodia").
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